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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
CNR                                                  610 Federal Plaza
F. #2019V02311                                       Central Islip, New York 11722



                                                     January 29, 2021

By ECF with Courtesy Copy by Interoffice Mail

The Honorable Joanna Seybert
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

               Re:    United States v. Christian Gerold Tarantino
                      Criminal Docket No. 08-655 (JS)

                      Christian Gerold Tarantino v. United States
                      Civil Docket No. 16-3770 (JS)

Dear Judge Seybert:

               The government respectfully submits this letter brief in opposition to Christian
Gerold Tarantino’s (the “petitioner”) motion for discovery, dated September 14, 2020, in
connection with his pending habeas motion pursuant to 28 U.S.C. § 2255 to vacate or set
aside his convictions. In perhaps tacit recognition that the petitioner’s pending habeas
motion will ultimately fail on all purported bases, the petitioner now seeks purportedly
“limited discovery” pursuant to Rule 6(a) of the Rules Governing Section 2255 Proceedings
for the United States District Courts” in order to attempt to bolster his fatally weak claims.
For the reasons stated below and in conjunction with the arguments advanced in the
government’s opposition to the petitioner’s habeas motion (see Crim. Dkt. Entry No. 513),
the petitioner’s motion for discovery is without merit and the Court should deny all relief.

                   As this Court is well aware, a habeas petitioner is not entitled to discovery as
a matter of course; rather the Court will only allow discovery in its discretion where a
petitioner can overcome the burden of showing “good cause.” See McFadden v, Cuomo, 15-
CV-119 (JS), 2015 WL 5821626, at *3 (E.D.N.Y. Sept. 30, 2015). In order to show good
cause, the petitioner must present specific allegations that give the Court “reason to believe
that the petitioner may, if the facts are fully developed, be able to demonstrate that he is …
entitled to relief.” Bracy v. Gramley, 520 U.S. 899, 909-09 (1997). The petitioner’s burden
in establishing a right to discovery is a heavy one and the Court may deny such a request
where the petitioner provides no specific evidence that the requested discovery would
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support his habeas petition. See Pizzuti v. United States, 809 F. Supp.2d 164, 176 (S.D.N.Y.
2011). “Generalized statements regarding the possibility of the existence of discoverable
material will not be sufficient to establish the requisite ‘good cause.’” Id. “Moreover, Rule 6
does not license a petitioner to engage in a fishing expedition by seeking documents merely
to determine whether the requested items contain any grounds that might support his petition,
and not because the documents actually advance his claims of error.” McFadden, 2015 WL
5821626, at *3 (internal quotations omitted).

               Here, the petitioner’s purportedly “limited” discovery requests, including
document requests, requests for admissions, request to examine original evidence, and
interrogatories to not only fact witnesses and prior counsel, but also the lead prosecutor and
Your Honor, effectively seek to (a) reexamine the government’s Rule 16 disclosures, 3500
materials and Brady and Giglio disclosures in toto, (b) relitigate legal and factual issues
resolved at pretrial hearings, at trial on in post-trial motion practice, (c) advance arguments
not previously addressed on appeal, and (d) obtain discovery from not only the prosecution,
but also the Court, on nothing more than mere speculation of purported impropriety. Such a
fishing expedition is unwarranted and the Court should reject each request.

               With respect to the discovery requests relating to the petitioner’s jurisdictional
challenge to the conviction on Count 1, nothing requested by the petitioner will effectively
contradict the evidence presented by a fact witness at trial whose testimony clearly
established the minimal interstate nexus required to support the conviction. As indicated in
the government’s opposition to the petitioner’s habeas motion, the late Frank Fede’s
testimony established that his armored car company operated in interstate commerce and
serviced the Port of Newark in New Jersey. In this motion, the petitioner’s request seeks,
among other things, documents from the government and from Fede’s known heir regarding
business transactions “on or about June 23, 1994” that attempt to contradict Fede’s
affirmation that his business was engaged in interstate commerce. However, in the
petitioner’s reply to the government’s opposition to the habeas motion, filed on February 14,
2020, 1 the defendant already attaches documents that the petitioner already claim to
undermine the evidence the jury properly relied on to establish the petitioner’s guilt. See
Crim. Dkt. Entry No. 516, at 31-39. Seeking to obtain additional evidence that does not
undermine the witness’s trial testimony is not “good cause” to reopen discovery on this issue.

                  With respect to the requests for discovery relating to the purported undisclosed
benefactor conflict, the petitioner admits in his reply submission that he was fully aware that
his first trial attorney was paid for in part by Scott Mulligan, but that he “never thought of the
unique and serious problems with Scott Mulligan paying half my legal fee to Froccaro and

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         In footnote 2 to the petitioner’s reply submission, the petitioner claims that there
was “enough ‘good cause’ to allow discovery under Rule 6 of the Rules governing §2255
proceedings as to this issue.” Despite making such a claim, the petitioner did not move for
such relief for an additional seven months and has provided no explanation as to the basis for
the delay.


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being a suspect in the same case and simultaneously being represented by Froccaro.” See
Dkt. Entry 516 at 23 (¶25). Attempting to excuse this obvious fatal flaw in his undisclosed
benefactor claim, the petitioner then claims that “I could not be expected to understand the
benefactor conflict of interest or to think like an attorney. I am not a lawyer and I relied on
my attorney and the Court to protect my rights.” Id. (¶32). As the government pointed out in
its opposition to the petitioner’s habeas motion, the petitioner was afforded Curcio counsel
prior to the start of the first trial and would have been fully aware of his right to conflict-free
counsel. Furthermore, the petitioner further admits that, at his request, Eliza Stahl, Esq. was
a member of the defense team prior to the first trial and was fully aware of the purportedly
undisclosed benefactor conflict. See Dkt. Entry 505-1, at 1 (¶¶ 2-3). The government
respectfully submits that any discovery on this issue is clearly without “good cause” and
should be denied.

                With respect to the discovery requests relating to the petitioner’s purported
exclusion from pre-trial screening of the jury questionnaires, the petitioner’s argument on
this point in his habeas motion fails as he cannot show that he was prejudiced by any
purported failure of Froccaro to review the jury questionnaires with him. As the government
stated in its habeas opposition, given the overwhelming evidence of the petitioner’s guilt,
there is no reasonable probability that but for Froccaro’s alleged ineffective assistance of
counsel on this issue, that the petitioner would not have been convicted at trial. Hence, any
discovery on this issue is without “good cause” and the Court should deny the motion for
discovery on this issue.

                With respect to the discovery requests relating to the petitioner’s claim of
ineffective assistance of counsel claims due to not arguing for an “accessory-after-the fact”
defense, the petitioner’s request for discovery is based on nothing more than mere
speculation that the government may have withheld alleged Brady material regarding the
Pistones. The petitioner does not allege any fact that would support the idea that the
government failed to disclose required materials in advance of trial. Furthermore, on the
same theory of defense claim, the petitioner further requests that the government once again
allow the defendant to obtain the previously disclosed (and heavily litigated) Gargiulo tape to
allow it to be presented to yet another expert for analysis. The government respectfully
submits that the admissible evidence from the tape was properly disclosed, heavily litigated
pre-trial, addressed at two separate trials and litigated on appeal. There is no cause, let alone
“good cause,” to grant the petitioner’s motion on this point.

               With respect to the discovery requests seeking evidence claiming to validate
the petitioner’s claim that the Court should have been recused, the petitioner cannot carry his
burden on this claim. 2 Far from showing “good cause” to seek documents purporting to call

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          As an initial matter, in what appears to be a ministerial error, the petitioner “submits
that first trial counsel ineffectively failed to seek recusal of the retrial court based on
inferable bias stemming from [the Court] impermissibly allowing a government witness to
waive grand jury indictment.” Dkt. Entry 518, at 12 (emphasis added). This obviously
makes no sense as Frocarro would not be in a position to seek the Court’s recusal after his

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into question the propriety of the government and the Court’s actions on this issue, the
petitioner’s claim necessarily fails where the Court already held that “[t]here is nothing
erroneous about the Government’s indictment of Mulligan, and that this Court presided over
[the petitioner’s] criminal trial in which Mulligan testified against [the petitioner] does not
objectively raise any doubt that justice would be done absent recusal.” Dkt. Entry 413, at 5.
Hence, any discovery on this issue is unwarranted and the motion should be denied.

              For all of the foregoing reasons, the petitioner’s discovery motion is without
merit and the government respectfully submits that the motion should be denied.

                                                    Respectfully submitted,

                                                    SETH D. DUCHARME
                                                    Acting United States Attorney

                                            By:      /s/ Charles N. Rose
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representation of the petitioner had concluded. The heading of the section of the motion
refers to the purported failure of “retrial counsel.” As discussed further, there was no basis
for recusal and the request for discovery on the point fails regardless of what attorney the
petitioner claims provided ineffective assistance.


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